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              EXHIBIT 1
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF NEW YORK
           ----------------------------------------------------------------------- x    SUMMONS
           GUZEL GANIEVA,                                                           :
                                                                                    :   Plaintiff designates
                                                  Plaintiff,                        :   NEW YORK COUNTY
                              v.                                                    :   as the place of trial
                                                                                    :
           LEON BLACK;                                                              :   The basis of the venue is: Residence of
                                                                                    :   Plaintiff and a substantial part of the
                                                  Defendant.                        :   events giving rise to Plaintiff’s claims took
                                                                                    :   place in New York County
          ----------------------------------------------------------------------- x

         To the above-named Defendant:

                  YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve
         a copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
         appearance on the Plaintiff’s attorney within twenty (20) days after service of this summons,
         exclusive of the day of service (or within thirty (30) days after the service is complete if this
         summons is not personally delivered to you within the State of New York); and in case of your
         failure to appear or answer, judgment will be taken against you by default for the relief
         demanded in the complaint.

         Dated: June 1, 2021
                New York, New York                                     Respectfully submitted,

                                                                       WIGDOR LLP


                                                                       By: _____________________________
                                                                              Jeanne M. Christensen
                                                                              Lindsay M. Goldbrum

                                                                       85 Fifth Avenue
                                                                       New York, NY 10003
                                                                       Telephone: (212) 257-6800
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                                                                       Counsel for Plaintiff




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK
         -------------------------------------------------------------------------X
         GUZEL GANIEVA,                                                           :
                                                                                  :
                                                Plaintiff,                        :   Civil Action No.:
                                                                                  :
                            v.                                                    :
                                                                                  :   COMPLAINT
         LEON BLACK,                                                              :
                                                                                  :
                                                Defendant.                        :   Jury Trial Demanded
         -------------------------------------------------------------------------X

                 Plaintiff Guzel Ganieva (“Plaintiff”) brings this Complaint against Leon Black (“Black”

         or “Defendant”), and hereby alleges as follows:

                                                   PRELIMINARY STATEMENT

                 1.       On April 8, 2021, Bloomberg published an article that contained the following

         statements by Defendant Leon Black about Plaintiff Guzel Ganieva:

                          “I foolishly had a consensual affair with Ms. Ganieva that ended
                          more than seven years ago,” Black said in the statement Thursday.
                          “Any allegation of harassment or any other inappropriate behavior
                          towards her is completely fabricated. The truth is that I have
                          been extorted by Ms. Ganieva for many years and I made
                          substantial monetary payments to her, based on her threats to
                          go public concerning our relationship, in an attempt to spare my
                          family from public embarrassment.”

                          Black had previously planned to step down by the end of July as
                          CEO of the firm he co-founded. He said that, on advice from his
                          counsel, he asked criminal authorities several weeks ago to
                          investigate Ganieva. 1




         1
                 Gillian Tan, Black Says He Paid to Hide Affair, Denies It Led to Apollo Exit, Bloomberg,
         (April 8, 2021, 10:04 PM), https://www.bloomberg.com/news/articles/2021-04-09/black-says-he-
         paid-to-hide-affair-denies-it-led-to-apollo-exit, (emphasis added).


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                2.      Everything that Black said in the above statement about Ms. Ganieva is false.

         First, Black did not have “a consensual affair” with Ms. Ganieva. Second, any telling of

         “harassment” or “inappropriate behavior” by Black towards Ms. Ganieva is not fabricated. As

         described below, such words do not come close to the appalling forced sexual misconduct that

         Black inflicted on her. Third, Black has never been “extorted by Ms. Ganieva,” much less for

         “many years.” Disgustingly, he used his extreme power and wealth to coerce her into signing a

         non-disclosure agreement (“NDA”) in October 2015 precisely because he knew what he had

         done to her was shocking, evil and exposed him to potential criminal charges.

                3.      The only repeated threats for many years came from Black to Ms. Ganieva that if

         she did not sign the NDA, take his hush money and retreat into silence forever, she would feel

         the brunt of his true wrath. He said many times to her:

                        “If you do not take the money, I will put you in prison.”

                        “If you do not take the money, I will destroy your life.”

                4.      Fourth, Ms. Ganieva never “threatened to go public” about Black regarding

         anything. As the people within Black’s inner circle know, the suggestion that Black attempted to

         spare his family public embarrassment about a purported extramarital relationship is ridiculous.

                5.      For years, Black ate countless meals with Ms. Ganieva in 5-star restaurants, took

         her to Broadway shows, numerous art shows, museum exhibitions, private parties, the movies,

         including the premier of The King’s Speech and even sat beside her while he cheered for the New

         York Knicks at MSG. In the midst of all these very public outings, Black never once worried

         about sparing his family from public embarrassment. 2 In fact, he never worried about people



         2
           Nor did he care about being seen out with other young women, often of Russian descent, in
         addition to Ms. Ganieva.

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         associating him with Ms. Ganieva because he enjoyed being seen with her in public. What Black

         has worried about, however, is being exposed for the sadist that he is.

                6.         On October 29, 2020 during an earnings call, in connection with his

         announcements about his future role at Apollo Management, Black publically stated:

                           “There has never been an allegation by anyone that I engaged in any
                           wrongdoing, because I did not.”

                7.         This false claim of Black’s was the tipping point for Ms. Ganieva.      Having

         recently educated herself in law school and knowing that many of his sexual acts were against her

         will and without her consent, she no longer was willing to stand by and allow him to escape

         accountability.

                8.         Knowing that her public outing of his disgusting conduct would end any further

         monetary payments from Black, she did so regardless.

                9.         On March 17, 2021, Ms. Ganieva bravely posted on Twitter that Black was a

         “predator” that had “sexually harassed and abused” her for years. The next morning, Black texted

         Ms. Ganieva to call him immediately. She refused.

                10.        Knowing that he could no longer control her into silence, Black resorted to the

         age-old playbook used by wealthy and powerful men – he made a preemptive claim of extortion. 3

                11.        This textbook strategy involves overpowering the female accuser by victimizing

         her one more time in a public way with threats of criminal charges. As demonstrated by Black,

         this is accomplished by going to the “criminal authorities” to accuse Ms. Ganieva of extortion

         3
                 Too many examples exist to include here of wealthy male sexual harassers re-victimizing
         their victims by accusing these women of extortion after they came forward. A number of high
         profile examples are detailed infra at ¶ 87. Threats of extortion are potentially far more
         damaging and frightening to a female accuser than threats of a civil lawsuit for defamation, an
         option that numerous men accused of sexual misconduct use for similar reasons.


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         and placing her on the legal defensive before she can take any legal action against him – just in

         case she planned on doing so.

                12.     Although heinous and disgusting, Ms. Ganieva had been threatened by Black for

         years that if she disobeyed him, he would “put her in prison” and to speak out would be

         “suicide.”

                13.     For too long, wealthy men like Black have enjoyed an unequal access to justice

         unavailable to the average citizen and non-millionaires. Knowing the right lawyers and

         politicians provided Black with the ability to do exactly as he said:

                        “Ask criminal authorities to investigate Ganieva.”

                14.     Threatening that a criminal charge will be brought against Ms. Ganieva first will

         not save Black from the truth about what he has done. The truth will reveal a violent, sadistic

         side to Black that he has shielded from public view for decades.

                15.     Black defamed Ms. Ganieva by making the above statements.

                                              JURISDICTION AND VENUE

                16.     The Court has personal jurisdiction pursuant to Civil Practice Law and Rules

         (“CPLR”) § 301, inter alia, because Plaintiff and Defendant reside in New York.

                17.     Venue is proper in this County pursuant to CPLR § 503 because a substantial part

         of the events giving rise to Plaintiff’s claims took place in New York County.

                                                      PARTIES

                18.     Plaintiff Guzel Ganieva resides in the state of New York, New York County.

                19.     Defendant Leon Black resides in the state of New York, Westchester County.




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                                            FACTUAL ALLEGATIONS

         I.     Leon Black’s Orchestrated Secrecy of His Sexual Violence and Deviance

                20.     Like a master chess player, Black was many moves ahead of Ms. Ganieva from

         the moment he met her. Black picked Ms. Ganieva out of a crowd in March 2008, while

         attending an International Women’s Day event in NYC.

                21.     A single mother in her early twenties, having moved from Russia to the United

         States by herself, it was easy work for Black to convince Ms. Ganieva to dine with him at La

         Grenouille where he planned to tell her how he could help her with her future.

                22.     This is exactly what Black did.

                23.     It was a choreographed plan that allowed him to quickly gain Ms. Ganieva’s trust.

         Common sense suggests that he had used this tactic before, and in fact, Ms. Ganieva later met at

         least two other women that were similarly involved with Black. Over the course of several

         dinners, Black repeated proclamations about her innate talent and intellect, and combined with a

         few “arranged” appointments, for example with the Creative Artists Agency, LLC in Los

         Angeles, he quickly gained her gratitude and admiration.

                24.     Ms. Ganieva was flattered that a successful businessman would find her

         conversation and company enjoyable. As the person in charge of thousands of employees, Ms.

         Ganieva believed Black understood the value and importance of reliable, secure employment and

         intended to help her move beyond modeling. Naïvely, Ms. Ganieva believed that Black was not

         interested in her sexually, simply because she told him that their relationship would not be sexual.

                25.     Black, however, is a ruthless planner and a man that gets what he wants. It was not

         long before he managed to secure his ability to get Ms. Ganieva alone with him, out of sight from

         the public or his own employees.


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                26.     Once he did, Black forced sadistic sexual acts on her without her consent and

         despite her saying no.

                27.     The first time it happened, in 2008, Black took Ms. Ganieva to a studio apartment

         with a mattress on the floor and no other furniture. Humiliated and in shock, Ms. Ganieva never

         uttered a word about he had done to her.

                28.     In a sad but predictable pattern, for the next several years Ms. Ganieva endured a

         cycle of intimidation, abuse and humiliation by Black that on numerous occasions included

         forced sexual conduct against her will. Many of these instances were perpetrated by Black in

         order for him to indulge in sadistic sexual acts that were physically painful to Ms. Ganieva and to

         which she never consented. In addition to causing intentional physical pain, Black engaged in

         these acts because he derived pleasure from humiliating and debasing Ms. Ganieva.

                29.     After these acts of violence, Ms. Ganieva would tell Black to never speak to her or

         contact her again. Inevitably, after waiting weeks and sometimes several months, being a master

         manipulator, Black would engage in remorseful and conciliatory behavior, relentlessly – until he

         could induce her to meet him again.

                30.     Black’s persuasion tactics included endless promises such as: to help with Ms.

         Ganieva’s child’s educational opportunities; to finance a movie for her that she could produce or

         direct, after convincing her that acting was too difficult a business; to purchase a townhouse and

         turn it into an art museum that Ms. Ganieva could manage or be a director of; and to help her

         with an application to Harvard Business School because of his strong relationships there. She

         believed his promises, and in fact, she was aware that Black had purchased an art gallery and

         hired another woman that he had been involved with to run the gallery.




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                31.    Despite Black’s periods of remorseful and conciliatory behavior, he nevertheless

         also engaged in textbook harasser conduct. Specific details about each instance of Black’s

         derogatory and controlling conduct towards Ms. Ganieva are too much to include in this

         Complaint. By way of example only, it included such things as:

                              Ubiquitous belittling;

                              Falsely accusing her of being jealous to deflect from his
                              own hideous conduct;

                              Pretending not to listen to or understand Ms. Ganieva when
                              she said something he did not like, especially when it
                              involved her attempts at cutting off communication;

                              Forcing her to walk behind him;

                              Forcing her to wait for his permission to speak;

                              Punishing her by yelling and screaming if she did not speak
                              to him “nicely”;

                              Insisting that she speak to him in a pleasing, pleasant or
                              otherwise “happy” and “nice” manner and yelling at her if
                              she failed to do so;

                              Insisting that her text messages also be sufficiently
                              pleasant;

                              Criticizing her appearance by saying she needed to lose
                              weight or improve certain parts of her body;

                              Criticizing her clothing and make-up;

                              Berating her for refusing to agree to threesomes with other
                              women and Black;

                              Intentionally making her feel stupid and inferior to him;
                              and

                              Physically intimidating her by such acts as clenching his
                              fists, pounding nearby pieces of furniture, repetitive

                                                          7



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                                   cracking of his knuckles and otherwise using his
                                   formidable 6’5” and 300+ pound body to intimidate her.

         II.    Ms. Ganieva Returns to College

                32.     In 2011, Ms. Ganieva enrolled in school to finish her undergraduate degree in

         math. She hoped that a degree would allow her to find a job outside of modeling.

                33.     Ms. Ganieva believed that going to school would occupy more of her time and

         make her less available to Black. Other efforts to distance from him included cutting off most of

         her hair, believing that Black would find her unattractive. Unfortunately, these efforts had thus

         far been mostly futile.

                34.     As it turned out, Black said that he was in favor of her returning to college, and

         used the situation to convince Ms. Ganieva to sign a “loan” with Black.

                        A.         The First $480,000 Loan

                35.     One day in 2011, Black told Ms. Ganieva that he had arranged a loan for her.

         Despite being a financial titan with teams of lawyers at his disposal, Black presented to her a one-

         page document, set forth below.

                36.     As stated, the “loan” included a 5% interest rate and was payable on June 1, 2016.

                37.     Of course, such an amount of money was unfathomable to Ms. Ganieva and she

         protested that she would never be able to pay it back. Financial control – a tried-and true tactic to

         achieve dominance over another, was a method Black knew intimately and understood would

         place Ms. Ganieva in his debt forever.




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               38.   Critically, it would ensure that his criminal behavior would remain silenced.




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                       B.     The Second $480,000 Loan

                 39.   Unsurprisingly, Black followed this initial loan with another one just like it in

         2013:




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                40.       The two “loans” and his ability to force repayment of such an amount allowed

         Black to exert even greater control over Ms. Ganieva. Black knew the magnitude of the harm

         that he had inflicted on Ms. Ganieva over the years. This money, at least in his twisted mind, was

         a way of excusing himself.

                41.       After Ms. Ganieva finished her math degree, Black reignited his charade of

         promises to help her find a “real job” outside of modeling. He convinced her that with all of his

         powerful Wall Street connections, he would find her a job.

                42.       Pathetically, Ms. Ganieva believed all of his promises and pursued leads for jobs

         arranged by Black for over a year. In hindsight Ms. Ganieva knows that none of these arranged

         interviews were meant to be legitimate. Rather, it was all part of Black’s sick plan to make her

         feel grateful to him on the one hand, but also allow him to belittle and humiliate her after each

         job rejection.

                43.       Too many examples exist of these sham interviews to detail herein, but Black used

         his connections at Goldman Sachs and other financial powerhouses to arrange appointments for

         her. On the surface, such interviews appeared well-meaning, such as this example:

                          From: REDA , Jenna L. [HCM]
                                CTED
                          Sent: Wednesday, May 07, 2014 11:33 AM
                          To: 'Guzel Ganieva'
                          Subject: RE: Goldman Sachs Interview Opportunity

                          Hello Guzel,
                          Just following up to the voicemail I recently left. Curious if you
                          are available to come onsite this
                          Friday May 9th from 11am to 1:30pm?
                          Please let me know. Thank you, Jenna




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                        On Wednesday, May 7, 2014, REDA , Jenna L.
                                                                      CTED
                        <Jenna. REDA@gs.com> wrote:
                                 CTED
                        Hello Guzel,
                        Please see your interview details below:
                        Friday, May 9th, 2014
                        Interviewer Time Details:
                        Dana Bunting 11:00am EST 32/201
                        HCM TBD 11:30am EST 32/201
                        Pete Lyon & Alison Mass 12:00pm EST 32/201
                        Julie Silverman 1:00pm EST 32/301
                        Please keep in mind that all schedules are subject to change. When
                        you arrive to our building at 200 West Street in New York, our
                        security team will direct you.

                44.      As Black knew would happen, Ms. Ganieva never received an offer from any

         financial company in New York. Desperate for work and falling for Black’s claims that he was

         the only person that could help her, Ms. Ganieva even interviewed for jobs in London and

         Moscow that Black arranged, including at Goldman Sachs in London and Moscow.

                45.     Predictably, Ms. Ganieva was rejected. By way of example only, one such

         rejection email is as follows:

                        On      Saturday,     November      29,   2014,    RED ,     Pete
                               RED                                         ACT
                        <Pete.      @gs.com> wrote:
                        ThanksACTGuzel…in short, I think we just have to be patient for
                        now…we have explored many options internally and, given the
                        macro environment, there are no open jobs at Goldman Sachs right
                        now that work for/are a fit for you…I also saw Paolo a few weeks
                        ago in NYC and he told me he would keep his eyes open for you in
                        Moscow with clients of his if they have roles/openings that make
                        sense but that there were no immediate openings he was aware
                        of…I wish we had better news but I think we just need to hang
                        tight for now and if something opens that makes sense then Paolo
                        and/or I will be in touch…thanks a lot.”

                46.     After yet another failed job interview, in desperation Ms. Ganieva even asked

         Black if she could work as a receptionist at one of these companies. This idea was rejected by

         Black. Clearly, Black preferred her instability and dependence. In fact, after yet another failed



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         Goldman Sachs interview, Black said in a perversely happy manner that he knew her “world is

         shitty.” Black then used the opportunity to remind her that he is the “only one” who can help her

         escape her “miserable life.”

         III.   The Rape in July 2014

                47.     In the days leading up to the July 4, 2014 weekend, Ms. Ganieva became sick and

         was home for a number of days unable to go to the store or cook for herself. At the time, her

         child was away at summer camp. On Sunday, July 6, 2014, Black came from the Hamptons to

         her apartment on East 77th Street. Although Ms. Ganieva did not buzz him through the building

         entrance, one of her neighbors must have done so, because suddenly he was knocking at her

         apartment door. When Ms. Ganieva opened the door, Black barged in, pushing her off to the side.

                48.     Ms. Ganieva was weak and could barely walk. Disturbingly, when Black realized

         what a debilitated state she was in, he became happy.

                49.     Aware that Black wanted to have sex with her, Ms. Ganieva quickly began

         protesting that she could not and would not have sex with him. She tried to tell him that she was

         in a weakened state, having been sick for almost a week.

                50.     Never a match for his physical size and strength, on this day in particular Ms.

         Ganieva knew what fate was in store.

                51.     At over 6’5” and 300+ pounds, Black had no difficulty dragging Ms. Ganieva into

         the bedroom and throwing her on her back on the bed. She was limp and unable to move.

                52.     Despite her begging him to leave, he took off her clothes and his own.

         Inexplicably, he spared Ms. Ganieva the pain of his usual sadistic rituals and quickly got on top




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         of her and forced his penis into her vagina against her will. Disgustingly, when Black was done,

         as he stood up and put his clothes back on, he angrily said:

                        “Now I have fucked you.”

                53.     Black then walked out – leaving Ms. Ganieva naked and unable to move on her

         bed.

                54.     Ms. Ganieva was no match for the cunning and masterful manipulation of Black

         or his repeated and unwanted sexual conduct.

                55.     After this rape, Ms. Ganieva took her son and left New York to physically

         distance herself from Black. Unfortunately, she was unable to fully escape his influence as it

         seemed that no matter where she traveled, inevitably she happened to meet someone that knew

         Black and he managed to always be aware of where she was and what she was doing.

                56.     In this regard, Black often called Ms. Ganieva to let her know that he knew she

         had been at a certain event the night before, who she had been with and what she had been

         wearing.

                57.     No matter the physical distance between them, Ms. Ganieva continued to feel

         threatened by Black and his power over her. Of course, this was precisely what he wanted.

                58.     It was no surprise to Black that when Ms. Ganieva was back in New York City in

         2015, she asked to meet him. Ms. Ganieva wanted to know what she could do to be able to live

         her life without his continued involvement. Having planned for years about his ability to silence

         her for what he had done, Black was prepared to talk to her, especially knowing that her two

         “loans” were coming due.

                59.     Of course, Ms. Ganieva did not have one million dollars to repay Black.

                60.     Of course, she was no match for his power, connections, control and money.


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                 61.     Although intimidated by him, Ms. Ganieva repeated her prior messages that she

         did not want Black’s money – she wanted him to leave her and her child alone, for good.

                 62.     Black was relentless. Black urged Ms. Ganieva to take money he was offering her

         in exchange for nothing “horrible” to happen to her or her child.

                 63.     It was not an offer because refusing Black was not an option. He reminded Ms.

         Ganieva that if she did not take the “deal,” i.e., his hush money, he would make sure she ended

         up “in prison” or he would “destroy her life.”

                 64.     At the Four Seasons hotel on October 18, 2015, he shoved a piece of paper across

         the table and told her she had to sign it.

                 65.     Ms. Ganieva was nervous and had difficulty understanding what it said. She

         understood that it involved confidentiality -- what she later learned was a nondisclosure

         agreement (“NDA”).

                 66.     Black “agreed” to allegedly forgive her loans.

                 67.     As to the other terms, she only read it once, quickly, and is unsure what other

         language is included in the document.

                 68.     There was no space on the document for Black to sign, only Ms. Ganieva.

                 69.     After she signed, he handed her another piece of paper which looked to be a copy

         of what she just signed. He ordered her to sign this also.

                 70.     He then said to her:

                         “[I will be paying you] as long as you keep your mouth shut.”




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                71.    Black refused to give her a copy. He left with the documents. 4

                72.    From that time until April 2021, Ms. Ganieva received regular payments from

         Black, via wire from an account called “E Trust.”

                73.    Prior to November 2015, whenever Black transferred money into her account, her

         bank statement recorded the funds as from “Leon D. Black,” or “J. Black Trust Account.” Ms.

         Ganieva has no knowledge as to why payments began from the “E Trust” or what it is.

                74.    Over the years, the only contact Ms. Ganieva had with Black was to ask numerous

         times to obtain a copy of what she signed that day. He refused to respond. By way of example

         only, in 2019 she wrote to him:




                                                     REDACTED




         4
                There is no way for Ms. Ganieva to be sure that the language in the second piece of paper
         matches the language in the first document. Although it appeared to be the same, to this day she
         cannot be sure what either document contains.

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               75.      Ms. Ganieva retained legal counsel to demand that she receive a copy of the

         document. Her lawyer’s letters to Black on February 18, 2020 and March 6, 2020 went

         unanswered.

               76.      To this day, only Black has the NDA documents.

         IV.    Black Says Publically that He Has Never Committed Any Act of Misconduct

                77.     On October 29, 2020 during an earnings call, in connection with his

          announcements about his future role at Apollo Management, Black publically stated that:

                        “There has never been an allegation by anyone that I engaged
                        in any wrongdoing, because I did not.”

                78.     This false proclamation of Black’s character and representation of his clean hands

          was extremely upsetting to Ms. Ganieva. He knew what he had done and that Ms. Ganieva

          considered many of his sexual acts to have been against her will and consent.

                79.     Having enrolled in law school, Ms. Ganieva had a greater understanding of what

          Black had done to her physically and what he had coerced her into signing in connection with

          the non-produced confidentiality agreement.

                80.     Knowing that Black was the one who had committed unlawful acts, and despite

          his anticipated threats to her for whatever he coerced her into signing, or that whatever money

          came from the mysterious E Trust into her account would cease, Ms. Ganieva finally had the

          courage to say what her experience with Black had been.




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                81.    On March 17, 2021, Ms. Ganieva posted on Twitter the following:




                82.    Thereafter, on April 8, 2021, Bloomberg published the following article with the

         statement issued by Black:

                       “I foolishly had a consensual affair with Ms. Ganieva that ended
                       more than seven years ago,” Black said in the statement Thursday.
                       “Any allegation of harassment or any other inappropriate behavior
                       towards her is completely fabricated. The truth is that I have been
                       extorted by Ms. Ganieva for many years and I made substantial
                       monetary payments to her, based on her threats to go public
                       concerning our relationship, in an attempt to spare my family from
                       public embarrassment.”




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                           Black had previously planned to step down by the end of July as
                           CEO of the firm he co-founded. He said that, on advice from his
                           counsel, he asked criminal authorities several weeks ago to
                           investigate Ganieva. 5

                   83.     This statement was reprinted in countless publications. 6

                   84.     For all of the reasons detailed above, everything Black said in the above

             statement about Ms. Ganieva is false. 7

                   85.     Black’s statement published on April 8, 2021 was made with malice.

         5
                 Gillian Tan, Black Says He Paid to Hide Affair, Denies It Led to Apollo Exit, Bloomberg,
         (April 8, 2021, 10:04 PM), https://www.bloomberg.com/news/articles/2021-04-09/black-says-he-
         paid-to-hide-affair-denies-it-led-to-apollo-exit.
         6
                Josh Kosman, Robert Kraft resigns from Apollo board amid Epstein controversy, the New
         York Post, (April 12, 2021, 2:09 PM), https://nypost.com/2021/04/12/robert-kraft-resigns-from-
         apollo-board-amid-epstein-controversy/.

                           In a statement to The Post, Black acknowledged that he knew
                           Ganieva, but denied that he acted inappropriately toward her. “I
                           foolishly had a consensual affair with Ms. Ganieva that ended
                           more than seven years ago,” Black said in his statement. “Any
                           allegation of harassment or any other inappropriate behavior
                           towards her is completely fabricated.” He also denied that her
                           allegations influenced his decision to step away from the company
                           faster than planned. In January, Black had signaled he would stay
                           on as chairman after stepping down as CEO on July 31.“This is
                           entirely a personal matter; this matter has nothing to do with
                           Apollo or my decision to step away from the firm.” Black added
                           that he believes he was being “extorted” by Ganieva because he
                           had allegedly “made substantial monetary payments to her, based
                           on her threats to go public concerning our relationship, in an
                           attempt to spare my family from public embarrassment.” The
                           billionaire said he has referred the matter to “the criminal
                           authorities” at the recommendation of his counsel and welcomes “a
                           thorough investigation.”
         7
                 On April 12, 2021, the New York Post published yet another article, stating that, “[a]s
         exclusively reported by The Post last week, Black’s unexpected exit on March 22 came just days
         after several directors on the private-equity giant’s board learned of accusations of sexual
         harassment against him by a woman he claimed was trying to shake him down over a
         ‘consensual affair.’” (emphasis added).

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                   86.     Black knew that he issued a false statement of facts to Bloomberg or made the

             statement intending it be published with reckless disregard for the truth.

                   87.     Black’s decision to falsely state that Ms. Ganieva extorted him “for years” is right

             from the playbook of scores of wealthy and powerful men facing similar accusations. Just a

             fraction of such examples are below:

                                   Harvey Weinstein alleged that Ambra Gutierrez fabricated
                                   claims of sexual assault in an attempt to blackmail him into
                                   a movie role. 8

                                   Bill O’Reilly and Fox News preemptively sued producer
                                   Andrea Mackris for extortion after she came forward with
                                   sexual harassment allegations. 9

                                   Paul Haggis accused Christine Lepera of extortion
                                   following her allegations that he raped her. 10

                                   Alan Dershowitz sued Virginia Giuffre for defamation
                                   following her claims of sexual assault, claiming that she
                                   made the claims in part to “extort private settlements
                                   from other, wealthier individuals associated with
                                   [Jeffrey] Epstein.” 11

         8
                 Kyle Munzenrieder, How Tabloids Dragged Ambra Gutierrez Through the Mud After She
         Accused Harvey Weinstein of Groping Her, W Magazine, (October 10, 2017),
         https://www.wmagazine.com/story/harvey-weinstein-ambra-gutierrez-page-six-daily-mail-smear-
         campaign.
         9
                 Anna North, Men like Bill O’Reilly get to make a comeback. Women who speak up about
         harassment lose their jobs, Vox, (May 16, 2018, 12:30 PM),
         https://www.vox.com/identities/2018/5/16/17360334/bill-oreilly-returning-sexual-harassment-
         fox-news-back-accusers-metoo-me-too-movement.
         10
               Post-Weinstein, These Are the Powerful Men Facing Sexual Harassment Allegations,
         Glamour, (May 18, 2019), https://www.glamour.com/gallery/post-weinstein-these-are-the-
         powerful-men-facing-sexual-harassment-allegations.
         11
                 Tom Jackman and Deanna Paul, Alan Dershowitz countersues accuser in Jeffrey Epstein
         case, then is sued by David Boies, The Washington Post, (November 8, 2019, 3:39 PM),
         https://www.washingtonpost.com/crime-law/2019/11/08/alan-dershowitz-countersues-accuser-
         jeffrey-epstein-case-then-is-sued-by-david-boies/.

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                                Russell Simmons claimed that a Jane Doe suing him over
                                an alleged rape in 1988 made up the event to extort him. 12

                88.     The false and defamatory statements exposed Ms. Ganieva to hostility, contempt,

         ridicule and professional disgrace.

                89.     In order to be admitted to the New York State bar, Ms. Ganieva must pass an

         ethics and moral character test. Such accusations against her will negatively impact this process

         and cause her severe damage.

                90.      The false and defamatory statements imputed sexual immorality and involved

         criminal activity in connection with Ms. Ganieva. Such statements will inevitably cause her

         harm and damage in her ability to secure employment going forward, and in all of her

         relationships, personal and professional.

                                            FIRST CAUSE OF ACTION
                                                  (Defamation)

                91.     Ms. Ganieva hereby repeats, reiterates and re-alleges each and every allegation in

         all of the preceding paragraphs as if fully set forth herein.

                92.     As described above, Defendant Black has stated false information regarding, inter

         alia, the circumstances surrounding his relationship with Ms. Ganieva and payments made to

         Ms. Ganieva.




         12
                 Ashley Cullins, Russell Simmons Says Jane Doe’s Rape Lawsuit is a “Vile” Extortion
         Attempt, The Hollywood Reporter, (April 18, 2018, 6:31 PM).
         https://www.hollywoodreporter.com/business/business-news/russell-simmons-says-jane-does-
         rape-lawsuit-is-a-vile-extortion-attempt-1103734/.

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                 93.     These statements were untrue and defamatory in that they falsely reported, inter

         alia, that Ms. Ganieva and Defendant Black engaged in a wholly consensual relationship and

         that Ms. Ganieva extorted Defendant Black.

                 94.     Defendant Black knew or should have known that such defamatory statements

         were false.

                 95.     Defendant Black made such defamatory statements with knowledge of their

         falsity and/or with a reckless disregard for their truth or falsity.

                 96.     Defendant Black’s statements constitute defamation because they impugn Ms.

         Ganieva’s honesty, trustworthiness, dependability, and professional fitness and abilities by

         falsely claiming, inter alia, that Ms. Ganieva engaged in a wholly consensual affair with

         Defendant Black and that Ms. Ganieva committed a crime by extorting Defendant Black.

                 97.     Defendant Black’s statements constitute defamation because they accuse Ms.

         Ganieva of committing a crime, namely, extortion.

                 98.     Defendant Black’s defamatory statements have harmed Ms. Ganieva’s

         professional reputation and standing in her industry, have caused her economic harm, have

         caused her to incur special damages in the form of actual pecuniary loss, including lost income,

         benefits, job security and opportunities for career advancement and have caused her

         embarrassment, humiliation and emotional injury.

                 99.     As a direct and proximate result of Defendant Black’s defamation, Ms. Ganieva

         has suffered, and continues to suffer, from humiliation, loss of standing in the community, loss

         of self-esteem and public esteem, public disgrace and emotional distress.




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                 100.    As a direct and proximate result of Defendant Black’s conduct, Ms. Ganieva has

         suffered, and continues to suffer, harm for which she is entitled to an award of monetary

         damages and other relief.

                 101.    Defendant Black’s defamatory statements were malicious, willful, wanton, and

         done with reckless disregard for Ms. Ganieva’s rights. As such, Ms. Ganieva is entitled to an

         award of punitive damages.

                                           SECOND CAUSE OF ACTION
                                               (Defamation Per Se)

                 102.    Ms. Ganieva hereby repeats, reiterates and re-alleges each and every allegation in

         all of the preceding paragraphs as if fully set forth herein.

                 103.    As described above, Defendant Black has stated false information regarding, inter

         alia, the circumstances surrounding his relationship with Ms. Ganieva and payments made to

         Ms. Ganieva.

                 104.    These statements were untrue and defamatory in that they falsely reported, inter

         alia, that Ms. Ganieva and Defendant Black engaged in a wholly consensual relationship and

         that Ms. Ganieva extorted Defendant Black.

                 105.    Defendant Black knew or should have known that such defamatory statements

         were false.

                 106.    Defendant Black made such defamatory statements with knowledge of their

         falsity and/or with a reckless disregard for their truth or falsity.

                 107.    Defendant Black’s statements constitute defamation per se because they impugn

         Ms. Ganieva’s honesty, trustworthiness, dependability, and professional fitness and abilities by




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         falsely claiming, inter alia, that Ms. Ganieva engaged in a wholly consensual affair with

         Defendant Black and that Ms. Ganieva committed a crime by extorting Defendant Black.

                 108.    Defendant Black’s statements constitute defamation because they accuse Ms.

         Ganieva of committing a crime, namely, extortion.

                 109.    Defendant Black’s defamatory statements have harmed Ms. Ganieva’s

         professional reputation and standing in her industry, have caused her economic harm, have

         caused her to incur special damages in the form of actual pecuniary loss, including lost income,

         benefits, job security and opportunities for career advancement and have caused her

         embarrassment, humiliation and emotional injury.

                 110.    As a direct and proximate result of Defendant Black’s defamation, Ms. Ganieva

         has suffered, and continues to suffer, from humiliation, loss of standing in the community, loss

         of self-esteem and public esteem, public disgrace and emotional distress.

                 111.    As a direct and proximate result of Defendant Black’s conduct, Ms. Ganieva has

         suffered, and continues to suffer, harm for which she is entitled to an award of monetary

         damages and other relief.

                 112.    Defendant Black’s defamatory statements were malicious, willful, wanton, and

         done with reckless disregard for Ms. Ganieva’s rights. As such, Ms. Ganieva is entitled to an

         award of punitive damages.

                 113.    Ms. Ganieva hereby repeats and re-alleges each and every allegation in all of the

         preceding paragraphs, as though fully set forth herein.

                 114.    Defendant Black made defamatory statements with malice and with knowledge of

         their falsity and/or with a reckless disregard for their truth or falsity.




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                   115.   Defendant Black’s statements constitute defamation per se because they impugn

         Ms. Ganieva’s honesty, trustworthiness, dependability and accuse her of a crime.

                   116.   Defendant Black’s defamatory statements have harmed Ms. Ganieva’s

         professional reputation and standing in her industry, have harmed her personal reputation, have

         caused her economic harm, have caused her to incur special damages in the form of actual

         pecuniary loss, including lost income, benefits, job security and/or opportunities for career

         advancement, and have caused her embarrassment, humiliation and physical and emotional

         injury.

                   117.   As a direct and proximate result of Defendant Black’s defamation, Ms. Ganieva

         has suffered, and continues to suffer, from humiliation, loss of standing in the community, loss

         of self-esteem and public esteem, public disgrace and physical and emotional distress.

                   118.   As a direct and proximate result of Defendant Black’s conduct, Ms. Ganieva has

         suffered, and continues to suffer, harm for which she is entitled to an award of monetary

         damages and other relief.

                   119.   Defendant Black’s defamatory statements were malicious, willful, wanton, and

         done with reckless disregard for Ms. Ganieva’s rights. Therefore, Ms. Ganieva is entitled to an

         award of punitive damages.

                                             THIRD CAUSE OF ACTION
                                     (Intentional Infliction of Emotional Distress)

                   120.   Ms. Ganieva hereby repeats, reiterates and re-alleges each and every allegation in

         all of the preceding paragraphs as if fully set forth herein.




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                121.    Defendant Black engaged in conduct toward Ms. Ganieva that is extreme and

         outrageous so as to exceed the bounds of decency in a civilized society; namely by, inter alia,

         subjecting her to defamatory statements and publicly accusing her of the crime of extortion.

                122.    These actions were taken with intent to cause, or disregard for, the substantial

         probability of causing severe emotional distress.

                123.    As a direct and proximate result of Defendant Black’s extreme and outrageous

         conduct, Ms. Ganieva has suffered severe emotional distress.

                124.    Defendant Black’s conduct was wanton, malicious, willful and/or cruel, entitling

         Ms. Ganieva to an award of punitive damages.

                                       FOURTH CAUSE OF ACTION
                                (Gender-Motivated Violence Pursuant to GMVA)

                125.     Ms. Ganieva hereby repeats, reiterates and realleges each and every allegation in

         the preceding paragraphs as if set forth fully herein.

                126.    The above-described conduct of Defendant Black, including, but not limited to,

         Defendant Black’s sexual assaults and rapes of Ms. Ganieva constitutes a “crime of violence” and

         a “crime of violence motivated by gender” against Ms. Ganieva as defined by the New York City

         Gender Motivated Violence Act, N.Y.C. Admin. Code § 8-903 (2017).

                127.    The above-described conduct of Defendant Black, including, but not limited to,

         Defendant Black’s sexual assaults and rapes of Ms. Ganieva, constitutes a “crime of violence”

         against Ms. Ganieva motivated: (i) by her gender; (ii) on the basis of her gender; and/or (iii) due,

         at least in part, to an animus based on her gender.

                128.    Defendant Black committed a “crime of violence” against Ms. Ganieva because

         she is a woman and, at least in part, because he has an unlawful animus towards women.



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         Defendant Black’s gender-motivated animus towards women is demonstrated by, among other

         things, his sexually violent and abusive treatment of women.

                129.    As a direct and proximate result of the aforementioned gender-motivated violence,

         Ms. Ganieva has sustained in the past and will continue to sustain, monetary damages, physical

         injury, pain and suffering, and serious psychological and emotional distress, entitling her to an

         award of compensatory damages.

                130.    Defendant Black’s gender-motivated violence against Ms. Ganieva entitles her to

         punitive damages and an award of attorneys’ fees and costs.

                                            PRAYER FOR RELIEF

                WHEREFORE, Plaintiff prays that the Court enter judgment in her favor and against

         Defendant, containing the following relief:

                A.      A declaratory judgment that the actions, conduct and practices of Defendant

         complained of herein violate the laws of the State of New York and the City of New York;

                B.      An injunction and order permanently restraining Defendant and his partners,

         officers, owners, agents, successors, employees and/or representatives, and any and all persons

         acting in concert with them, from engaging in any such further unlawful conduct, including the

         policies and practices complained of herein;

                C.      An award of damages against Defendant, or any jointly or severally liable entity

         or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

         Plaintiff for all monetary and/or economic damages;

                D.      An award of damages against Defendant, or any jointly or severally liable entity

         or person, in an amount to be determined at trial, plus prejudgment interest, to compensate




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         Plaintiff for all non-monetary and/or compensatory damages, including, but not limited to,

         compensation for her emotional distress;

                E.      An award of damages for any and all other monetary and/or non-monetary losses

         suffered by Plaintiff, including, but not limited to, loss of income, reputational harm and harm to

         professional reputation, in an amount to be determined at trial, plus prejudgment interest;

                F.      An award of punitive damages, and any applicable penalties and/or liquidated

         damages in an amount to be determined at trial;

                G.      Prejudgment interest on all amounts due;

                H.      An award of costs that Plaintiff has incurred in this action, including, but not

         limited to, expert witness fees, as well Plaintiff’s reasonable attorneys’ fees and costs to the

         fullest extent permitted by law; and,

                I.      Such other and further relief as the Court may deem just and proper.




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                                                 JURY DEMAND

         Plaintiff hereby demands a trial by jury on all issues of fact and damages stated herein.


         Dated: June 1, 2021
                New York, New York                     Respectfully submitted,

                                                       WIGDOR LLP


                                                       By: _____________________________
                                                              Jeanne M. Christensen
                                                              Lindsay M. Goldbrum

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                                                       Counsel for Plaintiff




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